Case 3:15-Cr-OOO44-D Document 565 Filed 07/29/16 Page 1 of 8 Page|D 1970

IN THE UNITED STATES DISTRICT COURT
' FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

UNITED STATES OF~AMERICA'
v. No. 3:15~CR-044-D,
RICHARD ANDREWS (25) »
PLEA AGREEMENT
Richard Andrews, the defendant, and Robert Smith, the defendant’s attome'y, and
the United States of America (the govemment), agree as follows:
l. Rights of the defendant Andrevvs understands that he has the rights
a. to plead not guilty;
b. to have a trial by jury;
c. to have his guilt proven beyond a reasonable doubt;

d. to confront and cross-examine Witnesses and to call Witnesses in his
defense; and

e. against compelled self-incrimination
2. Waiver of rights and plea of guilty: Andrews Waives these rights and
pleads guilty to the offense alleged in Count One of the Superseding lnformation,
Conspiracy to Launder Monetary lnstruments, in violation of 18 U.S.C. § 1956(h), the

penalty for Which is found at18 U.S.C. § l956(a)(l)(B)(i) and § l956(h). AndreWs

Plea Agreement ~ Page 1

 

Case 3:15-Cr-OOO44-D Document 565 Filed 07/29/16 Page 2 of 8 Page|D 1971

understands the nature and elements of the crime to which he is pleading guilty and
agrees that the factual resume he has signed is true and will be submitted as evidence.
3. Sentence: The maximum penalties the Court can impose are:
a. imprisonment for a period of no more than 20 years;

b. a fine not to exceed $500,000, or twice the value of the property
involved in the transaction, whichever is greater;

c. a term of supervised release of not more than five years, which may
be mandatory under the law and will follow any term of
imprisonment lf Andrews violates the conditions of supervised
release, he could be imprisoned for the entire term of supervised

release;
d. a mandatory special assessment of $lOO;
e. restitution to victims or to the community, which is mandatory under

the law and which Andrews agrees may include restitution arising
from all relevant conduct, not limited to that arising from the offense
of conviction alone;

f. costs of incarceration and supervision; and

h. forfeiture of property.

4. Possible immigration consequences: Andrews recognizes that pleading
guilty may have consequences with respect to his immigration status if he is not a citizen
of the United States. Under federal law, a broad range of crimes are removable
offenses, including the offense to which Andrews is pleading guilty. Removal and other
immigration consequences are the subject of a separate proceeding, however, and

Andrews understands that no one, including his attorneys or the Court, can predict to a

certainty the effect of his conviction on his immigration status. Andrews nevertheless

Plea Agreement - Page 2

 

Case 3:15-Cr-OOO44-D Document 565 Filed 07/29/16 Page 3 of 8 Page|D 1872

affirms that he wants to plead guilty regardless of any immigration consequences that his
plea of guilty may entail, even if the consequence is his automatic removal from the
United States.

5. Court’s sentencing discretion and role of the Guidelines: Andrews
understands that the sentence in this case will be imposed by the Court after consideration
of the United States Sentencing Guidelines (“Guidelines”). The Guidelines are not
binding on the Court but are advisory only. Andrews has reviewed the Guidelines with
his attorney but understands no one can predict with certainty the outcome of the Court’s
consideration of the Guidelines in this case. Andrews fully understands that the actual
sentence imposed (so long as it is within the statutory maximum) is solely in the
discretion of the Court.

6 . Defendant’s agreement Andrews shall give complete and truthful
information and/ or testimony concerning his participation in the offense of conviction.
Upon demand, Andrews shall submit a personal financial statement under oath and submit
to interviews by the government and the U.S. Probation Office regarding his capacity to
satisfy any fines or restitution Andrews expressly authorizes the United States
Attorneys’s Office to immediately obtain a credit report on him in order to evaluate his
ability to satisfy any financial obligation imposed by the Court. Andrews fully
understands that any financial obligation imposed by the court, including a restitution order
and/ or the implementation of a fine, is due and payable immediately ln the event the

Court imposes a schedule for payment of restitution, Andrews agrees that Such a schedule

Plea Agreement - Page 3

 

Case 3:15-Cr-OOO44-D Document 565 Filed 07/29/16 Page 4 of 8 Page|D 1973

represents a minimum payment obligation and does not preclude the U.S. Attorney’s
Office from pursuing any other means by which to Satisfy defendant’s full and immediately
enforceable financial obligation Andrews understands that he has a continuing
obligation to pay in full as soon as possible any financial obligation imposed by the court.

7. Forfeiture of property: Andrews agrees not to contest, challenge, or
appeal in any way the administrative or judicial (civil or criminal) forfeiture to the United
States of any property noted as subject to forfeiture in the indictment and any bills of
particulars, or seized or restrained by law enforcement officers during the investigation
related to this criminal cause. Andrews consents to entry of any orders or declarations of
forfeiture regarding all such property and waives any requirements (including notice of
forfeiture) set out in 19 U.S.C. §§ 1607-1609; 18 U.S.C. §§ 981, 983, and 985; the Code of
Federal Regulations; and Rules ll and 32.2 of the Federal Rules of Criminal Procedure.
Andrews agrees to provide truthful information and evidence necessary for the government
to forfeit such property. Andrews agrees to hold the government, its officers, agents, and
employees harmless from any claims whatsoever in connection with the seizure, forfeiture,
storage, or disposal of such property.

8. Government’s agreement: The government will not bring any additional
charges against Andrews based upon the conduct underlying and related to his plea of
guilty. The government will dismiss, after sentencing, any remaining charges in the
pending indictment(s). The government will file a Supplement in this case, as is

routinely done in every case, even though there may or may not be any additional terms.

Plea Agreement - Page 4

 

Case 3:15-Cr-OOO44-D Document 565 Filed 07/29/16 Page 5 of 8 Page|D 1974

This agreement is limited to the United States Attorney’s Office for the Northern District
of Texas and does not bind any other federal, state, or local prosecuting authorities, nor
does it prohibit any civil or administrative proceeding against Andrews or any property.

9. Violation of agreement: Andrews understands that if he violates any
provision of this agreement, or if his guilty plea is vacated or withdrawn, the government
will be free from any obligations of the agreement and free to prosecute Andrews for all
offenses of which it has knowledge In such event, Andrews waives any objections
based upon delay in prosecution If the plea is vacated or withdrawn for any reason
other than a finding that it was involuntary, Andrews also waives objection to the use
against him of any information or statements he has provided to the government and any
resulting leads.

10. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea
agreement

ll. Waiver of right to appeal or otherwise challenge sentence: Andrews
waives his rights, conferred by 28 U.S.C. § 1291 and 18 U.S.C. § 3742, to appeal from
his conviction and sentence He further waives his right to contest his conviction and
sentence in any collateral proceeding, including proceedings under 28 U.S.C. § 2241 and
28 U.S.C. § 225 5. Andrews, however, reserves the rights (a) to bring a direct appeal of

(i) a sentence exceeding the statutory maximum punishment, or (ii) an arithmetic error at

Plea Agreement - Page 5

 

Case 3:15-Cr-OOO44-D Document 565 Filed 07/29/16 Page 6 of 8 Page|D 1975

sentencing, (b) to challenge the voluntariness of his plea of guilty or this waiver, and
1 (c) to bring a claim of ineffective assistance of counsel.

12. Representation of counsel: Andrews has thoroughly reviewed all legal
and factual aspects of this case with his lawyers and is fully satisfied with his lawyers’
legal representation Andrews has received from his lawyers explanations Satisfactory
to him concerning each paragraph of this plea agreement, each of his rights affected by
this agreement, and the alternatives available to him other than entering into this
agreement Because he concedes that he is guilty, and after conferring with his lawyers,
Andrews has concluded that it is in his best interest to enter into this plea agreement and
all its terms, rather than to proceed to trial in this case

[nothing further on this page]

Plea Agreement - Page 6

 

Case 3:15-Cr-OOO44-D Document 565 Filed 07/29/16 Page 7 of 8 Page|D 1976

13. Entirety of agreement This document is a complete statement of the

parties’ agreement and may not be modified unless the modification is in writing and

 

 

 

  

 

 

signed by all parties.
AGREED To AND sIGNED thiszj,;:z day er ~ j /¢: , 2016.
JOHN R. PARKER
UNITED STATES ATTORNEY
war
Mf/ g t MAR.Yg_t wALTERs
Assistant United States Attomey
RICHARD AN'/DREWS Texas Bar No. 24003138
Defendant 1100 Commerce Street, Third Floor
Dallas,Texas 75242-1699
\ Tel: 214.659.8600
§Fax: 214.659.8803
f Email: mary.walters@us ~ ; _v
RICK CALVERT
3 / § Deputy Criminal Chief
»»~¢--»~~“1 …W~
_~ a l ::>WM -`~1…
RoBERT leTH "
Attorney for Defendant

Plea Agreement - Page 7

 

Case 3:15-Cr-OOO44-D Document 565 Filed 07/29/16 Page 8 of 8 Page|D 1977

CERTIFICATION

l have read (or had read to me) this Plea Agreement and have carefully reviewed
every part of it with my attorneys I fully understand it and voluntarily agree to it.

,,,M

f’?/M:/?/ .- , w J…r ZM

th:i€~rARD ANDREws Date
Defendant

 

1 am the defendant’s counsel. Ihave carefully reviewed every part of this Plea
Agreement with the defendant To my knowledge and belief, my client’s decision to
enter into this Plea Agreement is an informed and voluntary one.

 

 

“’"j" />““- 11 t t
§ / ''''' /' ` “"` ij _<:)//
,, f oBERT sMITH Daté / /

Attomey for Defendant

Plea Agreement - Page 8

 

